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P|aintiff,

VS.
CR. NO. 03-20395-B

DAV|D EARL FRANKLIN,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYiNG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

@ort date of l\lionda§¢l Ju|v 25, 2005, at 9:30 a.m., in Courtroom 1. 11th F|oor of the

Federa| Bui|ding, |V|emphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a edy tria|.
lT |S 80 ORDERED this id dzune, 2005.

UN|EL BREEN
UED STATES D|STR|CT JUDGE

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UNITED S`TATE D"ISIC COUR - WESRNTE D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:03-CR-20395 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

